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CITY AND COUNTY OF SAN FRANCISCO

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(lncluding SAN FRANCISCO DEPARTMENT OF BUILDING

INSPECTION, SAN FRANCISCO BUILDING

INSPECTION COMMISSION, and

SAN FRANCISCO PLANNING DEPARTMENT)

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

OAKLAND DIVISION

REGAN CARROLL TRUST, Regan
Carroll, Trustee,

Plaintiff,
vs.

CITY AND COUNTY OF SAN
FRANCISCO, SAN FRANCISCO
DEPARTMENT OF BUILDING
INSPECTION, SAN FRANCISCO
BUILDING INSPECTION
COMMISSION, and SAN FRANCISCO
PLANNING DEPARTMENT,

Defendant.

 

 

MPA ISO MOTN TO DISMISS AMENDED COMPL.

CASE NO. C-07-2577 SBA

Case No. C-07-2577 SBA

MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT 0F
MOTION T0 DISMISS FIRST
AMENDED coMPLAINT FOR LACK
0F JURISDICTION AND FAILURE
TO STATE A CLAIM, TO sTRIKE
THIRD cOUNT OR, IN THE
ALTERNATIVE, FOR sUMMARY
JUDGMENT

[FRCP 12(B)(1); 12(13)(6); 12(F), 561

Hearing Date: February 5, 2008
Time: 1100 p.m.

Place: Courtroom 3, 3rd F 1001'
Trial Date: TBA

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Defendant City and County of San Francisco (sued herein as the City and County of San
Francisco, San Francisco Department of Building Inspection, San Francisco Building lnspection
Commission, and San Francisco Planning Department; collectively "City") submits this memorandum
of points and authorities in support of its motion to dismiss the First Amended Complaint for
Injunctive Relief and Damages for Violation of Civil Rights filed herein on May 15, 2007
("Complaint") on the grounds that this Court lacks jurisdiction, the Complaint fails to state a claim,
and the Third Count was filed without prior leave of court in violation of the Federal Rules of Civil
Procedure.

RELIEF SOUGHT

By this motion, the City requests dismissal, with prejudice, of each claim for relief set forth in
the Complaint filed herein. This relief is sought on the basis of this Court's lack of jurisdiction over
one or more of Plaintiff`s claims for relief (FRCP 12(b)(1)) and Plaintiff`s failure to state claims upon
which relief can be granted (FRCP 12(b)(6)). 1n the altemative, the City requests summary judgment
under Rule 56 for the reasons set forth below.

In addition, the City requests that the Court strike the Third Count of the Complaint on the
ground that Plaintiff failed to request leave of court prior to filing this supplemental pleading, which
sets forth claims premised on conduct alleged to have occurred since the initiation of this action.
Such failure violates Rule of Civil Procedure 15(d), and thus renders the Complaint subject to motion
to strike pursuant to Rule 12(1).

INTRODUCTION

This is the City's second motion to dismiss filed in this case. Following filing of the City's
earlier motion to dismiss the initial complaint in this action (and in lieu of opposing that motion),
Plaintiff filed a first "amendment" to its complaint which adds no new facts in support of any of the
claims challenged in the original motion to dismiss_l ln fact, Plaintiff has not amended the Complaint

in any way intended to address the legal defects identified in the City's first motion to dismiss but

 

l Although styled as an "Amended" complaint, the Complaint contains new allegations
regarding alleged conduct by the City after the initiation of this case. As a result, and as set forth
more fully below, the Complaint is, in reality, a "supplemental" pleading governed by FRCP 15(d).

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instead includes a new claim~devoid of any supporting facts_that the City has "retaliated" against
Plaintiff in response to the filing of this and four other actions filed by Plaintiff in state court. This
new claim, like the others set forth in the Complaint, may be disposed of on the basis of facts alleged
in the Complaint or those subject to judicial notice. As a result, the entire action should be dismissed

In this case, Plaintiff again seeks a court order compelling the City to issue a building permit
for a project that does not comply with the law. Plaintiff‘s property is located in the Dogpatch
Historic District of San Francisco. The building permit application for the Project was initially filed
in 1999, assigned to Plaintiff in 2000, and then pursued sporadically by Plaintiff over the next several
years as his personal circumstances permitted. Plaintiff admits that the Planning Code was amended
during the protracted pendency of the Application, designating the neighborhood as an historic
district. The amended Code requires that all projects proposed for the Dogpatch Historic District
must be reviewed for consistency with applicable Planning Code provisions prior to issuance of the
permit Such review, Which takes the form of a Certificate of Appropn`ateness, was never sought or
received by Plaintiff In fact, the Complaint suggests that the Project should not be required to
comply with otherwise applicable changes in the Planning Code that were enacted subsequent to the
filing of its Application, but prior to final issuance of the building pennit. Plaintiffs arguments are
contrary to well-established law and, as a result, the Complaint should be dismissed without leave to
amend.

"Under established law local government agencies are powerless to issue land-use permits
which are inconsistent with governing legislation." Land Wasze Managemenz v. Conzra Costa Board
ofSapervisors, 222 Cal.App.3d 950, 959 ( l990)(italics in original). This includes permits that violate
planning and zoning ordinances. Id. Similarly, San Francisco Building Code § 106.4.3 prohibits
issuance of building permits that are not in conformity With the Planning Code and all other
applicable law. Any permit issued in violation of the Planning Code is legally invalid and may be set
aside as ultra vires. Id. at 958. As a result, it is a well-settled principle of administrative law that,
until a permit is finally granted, the Building and Planning Departments, and all administrative
agencies and courts considering a permit application, must apply the Planning Code in effect at the
time of review. Applying this principal, the California Supreme Court has long held that "one who is

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not yet armed with a presently effective municipal license to proceed with construction must assume
the risk that, 'before final action [has] been taken on [his] application' the law might be changed so
as to require that his application be denied." Russz'an Hz`ll lmp. Ass'n v. Board of Permit Appeals of
City and County OfSan Francz`sco, 66 Ca1.2d 34, 40 (1967).

Plaintiff challenged these very same decisions of the City in state court, but dismissed its
complaint when faced with a demurrer setting forth the controlling law. Attempting to avoid the
obvious legal defects of its challenge to the City's conduct, Plaintiff now attempts to recast its claims
as violations of federal law under 42 U.S.C. §1983 (“§1983"). Specifically, plaintiff asserts that the
City's conduct amounts to an unlawful delegation of authority [Complaint at111116-19], and that such
delegation violated Plaintift‘s constitutional right to equal protection [ld. at ‘|1‘|120-24.] Plaintiff has
failed to state claims cognizable under §1983.

This case presents a local land use dispute revolving around the questions of state law
described above. Plaintiff cannot plead facts establishing that the City delegated any land use
regulatory authority to a private entity, and this Court is not required to accept as true the unfounded
legal conclusions and sheer speculation offered in support of Plaintiff‘s legal theory. Moreover, the
Court must apply the highly deferential rational basis standard in reviewing the equal protection
claim, Based on the undisputed line of cases prohibiting issuance of a building permit in violation of
existing Planning and Building Code requirements, the City simply had no choice but to refuse
issuance of a permit once it was determined that the Application had not been reviewed for
consistency with the revised Planning Code. Thus, state and local law compelled the City to act as it
did. This is more than enough to satisfy the rationality test.

Plaintiff‘s claims are also barred by the doctrines of res judicata and collateral estoppel.
Plaintiff fails to allege that he has exhausted available administrative remedies in connection with the
City’s actions as provided under the San Francisco Charter and Municipal Codes, or sought to be
compensated through resort to the state courts. Although Plaintiff filed administrative claims
challenging the City's conduct, Plaintiff did not exhaust available state judicial remedies as required
prior to commencing an action pursuant to §1983 in this Court. Nor can it remedy this failure. Under

California law, challenges to local planning decisions, to the reasonableness or legality of conditions

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imposed on any permit, and to determinations by the City's Zoning Administrator are all governed by
the 90-day statute of limitations set forth in Government Code § 65009(0). Here, the City
administrative bodies with jurisdiction over Plaintiff‘s permit appeals made final determinations on
May 8, 2006, and June 14, 2006, Plaintiff filed the instant action approximately one year later, well
beyond the 90-day period mandated by §65009.

Similarly, Plaintiff‘s theory that the City unlawfully delegated authority to a neighborhood
group is time-barred. The statute of limitations defense is apparent from the face of the Complaint,
which alleges that "Planning reli.lsed to determine whether the Application was complete unless the
[Dogpatch Neighborhood Association] approved it. [] The Application was finally determined to be
complete by Planning in lune 2001 ." Thus, the alleged delegation occurred prior to lurie 2001»
nearly six years before the Complaint was filed. By lune 2002, the limitations period for Plaintiff‘s
§1983 claims had run.

Perhaps in an attempt to plead around the statute of limitations bar which defeats his other
claims for relief`, Petitioner now alleges that the City has, since the filing of the initial complaint in
this case, delayed “processing of the Application for this Project ...[and] matters related to other real
property owned by Plaintiff." This claim for relief also fails. First, these new allegations supplement
the original complaint, rather than amending it. Consequently, Plaintiff was required to seek leave of
court before filing this new complaint Since no such leave was sought, the Third Count should be
stricken In addition, the permit application for Plaintiff‘s property was disapproved»at Plaintiffs
request»in December 2006, Since that time, it has been impossible for the City to delay processing
the Application, because the Application was no longer pending Similarly, City records reflect that
all permit applications associated with Plaintiff‘s other property (located at 1169 Tennessee Street)
that were pending at any time on or since the date of Plaintiff‘s first state court petition have been
issued by the City. The Court need not accept as true the unsupported conclusions of the Complaint
in light of these judicially noticeable facts to the contrary.

F or the reasons set forth herein, the Complaint should be dismissed in its entirety and without
leave to amend.

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STATEMENT OF FACTS AND PROCEDURAL HISTORY
I. THE PROPOSED PROJECT

The site of the proposed Project in this case is 1179-89 Tennessee Street (the "Property")
[Complaint at 1[3], located in the Dogpatch Historic District of the City. [ld. at11111, 5.] Plaintiff‘s
predecessor in interest filed an application to construct a four-story residential and commercial
project ("Project") on the Property in 1999. []d. at 115.] After succeeding to the permit application
("Application") in 2000, Plaintiff pursued the Application sporadically, as his personal circumstances
(including the death of a family member) permitted, over the course of the next five years. [ld. at 112
and Request for ludicial Notice ("RJN") at Exh. 4 (Exh. B).] During that time, the Planning
Department reviewed and approved various aspects of the Project, including addenda drawingsl
[Complaint at 1117, 8.] The Planning Department review of and revisions to the addenda drawings
continued through November, 2005. [ld. at 118.]

II. AMENDMENT OF THE PLANNING CODE APPLICABLE TO NEW
CONSTRUCTION IN THE DOGPATCH HISTORIC DISTRICT

ln 2003, while the Application was pending, the San Francisco Board of Supervisors adopted
legislation designating the Dogpatch Historic District and requiring review of all projects proposed in
the district for consistency with Appendix L (Dogpatch Historic District) to Article 10 (Preservation
of Historical Architectural and Aesthetic Landmarks) of the Planning Code ("Appendix L"). [RJN at

113.] Article 10 requires, among other things, that

(a) No person shall carry out or cause to be carried out in a designated
historic district any construction for which a City Permit is required, except
in conformity with the provisions of this Article 10. ln addition, no Such work
shall take place unless all other applicable laws and regulations have been
complied with, and any required permit has been issued for said work.

(c) The Central Permit Bureau shall not issue, and no other City department or
agency shall issue, any permit for construction in an Historic District,
except in conformity with the provisions of this Article 10. ln addition, no
such permit shall be issued unless all other applicable laws and regulations
have been complied with.

(e) After receiving a permit application from the Central Permit Bureau in

accordance with the preceding subsection, the [Planning] Department shall

ascertain whether Section 1006 requires a Certificate of Appropriateness for

the work proposed in such permit application If such Certificate is required
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and has not been issued, or if in the sole judgment of the Department the
permit application does not conform, the permit application shall be
disapproved or held by the Department until such time as conformity does exit;
the decision and action of the Department shall be final.

Planning Code §1005, subs. (a), (c), and (e) (emphasis added). [RJN at Exh. 3.] Section 1006 of the
Planning Code, in turn, requires a Certificate of Appropriateness in the case of "[a]ny construction
for which a City permit is required in a historic district." Planning Code §1006. ld. Section
1006.2 provides that the Planning Commission shall hold a public hearing on all applications for a
Certificate of Appropriateness [ld.] Appendix L became effective as of April 18, 2003. The
Complaint characterizes these amendments to the Planning Code as "non-substantive changes" and,
rather than acknowledge that the City denied the permit as a result of the fact that the Application did
not comply With the law in existence as of December 2005, Plaintiff offers the speculation that he

was "singled out ...for special handling by order of DNA. . .." [Complaint at 1115.]

III. CITY REVIEW OF THE APPLICATION FOR CONSISTENCY WITH APPENDIX L

Plaintiff‘s reason for bringing the present action, as it has been with each of the four actions
previously filed in the Superior Court [see RJN at Exhs. 4-7] is to avoid what Plaintiff views as the
inequitable requirement that the Project obtain review and approvals based on Planning Code
provisions adopted during the pendency of the Application. [Id.] The simple truth is that the Project
has not been reviewed for compliance with Article 10 of the Planning Code because Plaintiff has not
applied for or received the required Certificate of Appropriateness for the Project, Once Planning
staff discovered that the mandatory review had not been conducted, the Department notified Plaintiff
that the Project must be reviewed for consistency with the standards set forth in Appendix L, and
reasserted jurisdiction over the permit application []d. at Exh. 4 (Exhs. A, C).] Plaintiff was notified
of this determination on December 2, 2005, and again on January 5, 2006. [Id.] On March 6, 2006,
the Zoning Administrator (ZA) formally requested that DBI "route any and all building permit
applications, renewals, extensions addendums, or revisions for the subject property to the Planning
Department for review" [id. (at Exh. C)] ("ZA Detennination"), explaining that the "Planning
Department will review [the Application] for consistency with the Planning Code . . . including the

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adequacy of past environmental reviews . . . and regulations of the Dogpatch Historical District

within Article 10 of the code." [ld.]

IV. ADMINISTRATIVE APPEALS OF THE CITY'S ACTIONS
A. APPEAL TO THE BUILDING INSPECTION COMMISSION
ln January 2006, Plaintiff filed an appeal with the Building Inspection Commission
("BIC") challenging the Planning Department's reassertion of jurisdiction over the Application [Id.
at Exh. 4 (see Exh. B).] After a full hearing, the BIC denied the appeal. [Id.] Plaintiff then made a
request for rehearing, which was also denied. [Id.] The BlC adopted its findings supporting the

decision and upholding the actions by Planning and DBI staff on May 1, 2006, finding as follows:

The Planning Department acted properly in reasserting its jurisdiction over the
permit because, under San Francisco Building Code Section 106.4.3, a building
permit issued in violation of the Planning Code ~ or any City Ordinance -
would not be valid. The Planning Department is the City agency charged with
determining whether building permits comply with the Planning Code.

_..DBl's Central Permit Bureau never issued the site permit for the Project. No
permit was delivered to the Appellant Carroll or his agent. Sign-offs by
various City Departments on Appellant's final plans and other structural details
that are needed before a permit can issue are not "issuance" of a permit.

Because DBl's Central Permit Bureau did not yet issue a permit to Appellant
Carroll, Appellant has no vested right to undertake the Project and DBl has no
further jurisdiction pending Planning Department action on the matter.

[ld. (Exh. B, p. 2 at 6, p. 2-1 at 1-3).] The BIC served its written findings on Plaintiff by mail on May
8, 2006. [ld. (Exh. B at 9).]

B. APPEAL TO THE BOARD OF APPEALS

Plaintiff appealed the ZA Determination to the Board of Appeals ("BOA") on March

21, 2006. [ld. at Exh. 4 (Exh. D).] Alter a hearing on May 17, 2006, the BOA denied the appeal and
upheld the ZA Determination. [ld.] Plaintiff‘s subsequent request for rehearing was heard and denied
on June 14, 2006, and the BOA mailed its Notice of Decision and Order on June 16, 2006. [ld,] The
Notice of Decision and Order included written notice to Plaintiff that any court challenges to the
BOA's determination would be governed by the statute of limitations set forth in Code of Civil

Procedure §1094.6. [ld.]

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C. PROCEEDINGS IN STATE COURT

Plaintiff filed an amended petition challenging the City's refusal to issue a permit on
September 12, 2006. [RJN at Exh. 4.] Summons was issued, and the Complaint served on the City
as required by San Francisco Charter § 3.100, on September 27, 2006. [ld.] The City filed a
demurrer on June 22, 2007 [ld. at Exh. 8], and replied to Plaintiff‘s opposition on July 3, 2007_ [ld.
at Exh. 9.] Two days later-before the court had issued its tentative ruling on the demurrer-Plaintiff
filed a request for dismissal of the state court action [Id. at Exh. 10.] Plaintiff also filed three other

actions in state court challenging subsequent actions by the City. [RIN at Exhs. 5-7.]

STANDARD OF REVIEW

Under Federal Rule of Civil Procedure 12(b)(6), a motion to dismiss should be granted if it
appears beyond a doubt that the plaintiff “can prove no set of facts in support of his claim which
would entitle him to relief." Conley v. Gibson, 355 U.S. 41, 45-46 (1957). For purposes of such a
motion, the complaint is construed in a light most favorable to the plaintiff and all properly pleaded
factual allegations are taken as true. Jenla`ns v. McKez`then, 395 U.S. 41 1, 421 (1969); Everest and
Jennings, lnc. v. American Molorr'sls lns. Co., 23 F.3d 226, 228 (9th Cir. 1994). Although the facts
alleged by Plaintiff are assumed true under a motion to dismiss, the Court is not required to accept as
true unwarranted deductions or unreasonable inferences, or conclusory legal allegations cast in the
form of factual allegations See Manafactared Home Commanz`lies lnc. v. City ofSan .]ose, 420 F.3d
1022, 1035 (9th Cir. 2005); Weslern Mining Councz`l v. Walt, 643 F.2d 618, 624 (9th Cir. 1981).

Federal Rule of Civil Procedure 12(b)(1) authorizes a party to seek dismissal of an action for
lack of subject matter jurisdiction “When subject matter jurisdiction is challenged under Federal
Rule of Procedure 12(b)(1), the plaintiff has the burden of proving jurisdiction in order to survive the
motion.” Tosco Corp. v. Commam`liesfor a Bezter Env'z, 236 F.3d 495, 499 (9th Cir. 2001). “ ‘A
plaintiff suing in a federal court must show in his pleading, affirmatively and distinctly, the existence
of whatever is essential to federal jurisdiction and, if he does not do so, the court, on having the
defect called to its attention or on discovering the same, must dismiss the case, unless the defect be

corrected by amendment.’ “ ld. (qaon'ng Smith v. McCalloagh, 270 U.S. 456, 459 (1926)). Subject

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matter jurisdiction does not exist over claims that are not ripe for adjudication Cardenas v. Anzai,

311 F.3d 929, 933 (9th Cir. 2002).
ARGUMENT

I. THE COMPLAINT FAILS TO STATE A CLAIM UNDER 42 U.S.C. §1983.

To prevail on its claims under §1983, Plaintiff must show that “(1) acts by the defendants (2)
under color of state law (3) depriv[ed][it] of federal rights, privileges or immunities [and] (4)
caus[ed][it] damage.” Thornton v. City ofSt. Helens, 425 F.3d 1158, 1 163-64 (9th Cir. 2005) (cr`tr`ng
Shoshone-Bannock Trr`bes v. ldaho Fish & Game Comm ’n, 42 F.3d 1278, 1284 (9th Cir. 1994)).
Section 1983 “‘is not itself a source of substantive rights,’ but merely provides ‘a method for
vindicating federal rights elsewhere conferred.”’ ld. Accordingly, Plaintiff must establish that the
City’s alleged actions deprived it of some right, privilege or immunity protected by the Constitution
or laws of the United States. Plaintiff has failed to allege such a deprivation and the §1983 claims
must therefore fail.

The federal courts have repeatedly recognized that a local agency's compliance with its own
land use regulations does not present an interest protected under §1983. These cases take the view
that local zoning and land use disputes represent an area “upon which the federal courts ought not to
enter unless no alternative to its adjudication is open." Rancho Palos Verdes Corp. v. City ofLaguna
Beaclz, 547 F.2d 1092, 1094 (9th Cir. 1976). Cf San Remo Hotel v. City and County ofSan
Francr'sco, 145 F.3d 1095, 1105 (9th Cir. 1998) (9th Circuit has “consistently held that land use
planning is a sensitive area of social policy that meets the first requirement for Pullman abstention"
(citations omitted)).

Federal courts were not created to be "the Grand Mufti of local zoning boards" Hoehne v.
County ofSan Benr`to, 870 F.2d 529, 532 (9th Cir. 1989), nor do they “sit as [ ] super zoning board[s]
or [ ] zoning board[s] of appeals.” Raskr`ewr`cz v. T own ofNew Bosron, 754 F.2d 38, 44 (lst Cir.), cerr.
denr`ed, 474 U.S. 845 (1985). “While the Supreme Court has yet to provide precise analysis
concerning claims of this sort, we feel confident that where, as here, the state offers a panoply of
administrative and judicial remedies, litigants may not ordinarily obtain federal court review of local

zoning and planning disputes by means of 42 U.S.C. §1983." ld. Resort to §1983 to resolve such

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inherently local disputes is, therefore, disfavored, and the courts have specifically rejected attempts
like the one at bar to create a constitutional question out of a local agency's decision on a
development application Chr`plz`n Enterprz`ses, lnc. v. City ofLebanon, 712 F.2d 1524, 1528 (lst Cir.
1983) (where planning board, after granting preliminary approval to a development project, denied a
building permit for the project, court found that "[a] mere bad faith refusal to follow state law in such
local administrative matters simply does not amount to a deprivation of due process where the state
courts are available to the correct error"); Chongrr's v. Board oprpeals of T own ofAndover, 811
F.2d 36, 42-43 (lst Cir.), cert. denied, 483 U.S. 1021 (1987); Sacesr`on Suarez v. Gelabert, 701 F.2d
231, 233 (lst Cir. 1983); Creative Envl'ronrnents v. Esral)rook, 680 F.2d 822, 829-30, 832 fn.. 9 (lst
Cir.), cert. denied, 459 U.S. 989 (1982)("[P]roperty is not denied without due process simply because
a local planning board rejects a proposed development for erroneous reasons or makes demands
which arguably exceed its authority under the relevant state statutes."); Coufv. DeBlaker, 652 F.2d
585, 590 n. 11 (5th Cir. 1981), cert. denied, 455 U.S. 921 (1982). ln these cases, "[e]ven where state
officials have allegedly violated state law or administrative procedures, such violations do not
ordinarily rise to the level of a constitutional deprivation." PFZ Propertz'es, lnc., v. Rodriguez, 928
F.2d 28, 31, (lst Cir. 1991), cert. granted 502 U.S. 956, cert. denied as improvidently granted, 503
U.S. 257 (1992).

Denial of building permits, regardless of the motivations behind such denial, and even where
the issuing agency's actions violate state law, represent "a matter of local concem, properly and fully
reviewable in the state courts." Chz'plr'n, supra, 712 F.2d at 1527. For the reasons set forth in these

cases, and for additional reasons argued below, Plaintiff fails to state a cognizable claim under §1983.

A. THE COMPLAINT FAILS TO STATE A CLAIM OF UNLAWFUL
DELEGATION UNDER SCHULZ l/l MILNE.

Plaintiff relies on the case of Schulz v. Milne, 849 F.Supp. 708 (N.D. Cal. 1994) for the '
proposition that conduct of the Planning Department constituted an unlawful delegation of power to a

private body. [Complaint at 5.] The analogy, however, is unpersuasive2

 

2 The legal deficiency of the first count of the Complaint was set forth in the City's original
motion to dismiss. The only additional allegation incorporated into Count One in the Amended
(continued on next page)

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In the Schulz case, the plaintiffs alleged that the City had delegated authority to review project
plans and approve permit applications to a neighborhood review board. Id. at 710, 712-13. The
Schulzes alleged that the neighborhood review board was delegated certain authority over project
review and approval pursuant to a resolution of the City Planning Commission that the city
repeatedly required them to submit plans to the board and informed them that they would have to
"satisfy" the board before the city would take any action on the permit application ld. at 712. The
court concluded that, for purposes of a motion to dismiss, plaintiffs had alleged enough facts to create
an inference that the city had unlawfully delegated its decision-making authority to the board. Id. at
713. The allegations of the Schulz case are not analogous to those presented here.

Here, Plaintiff does not allege that the Planning Commission or any other City body formally
delegated authority over projects in the Dogpatch Neighborhood to any individual or entity through
ordinance or resolution Plaintiff does not allege that the City required it to submit plans for approval
to the Dogpatch Neighborhood Association but only suggests that the City had directed a previous
owner to "review the project" with the association [Complaint at 115.] The Complaint then suggests
that "Planning refused to determine whether the Application was complete unless DNA approved it."
[Id. at 116.]

Plaintiff does not allege when it submitted materials constituting the Application to the City,
but asserts that the Planning Department determined the Application to be complete in 2001. [ld. at
11116, 7.] The Application was then apparently processed with no further input from the association for
the next four years, during which the City reviewed and approved various aspects of the Application
the project was revised, and the City approved a number of addenda. [ld. at 8.] During that same
period, the Planning Code was revised to designate the Dogpatch Neighborhood as an historic

district, and to require that all construction projects in that neighborhood be submitted to review by

 

(footnote continued from previous page)

Complaint is the following conclusory statement "As a result, DNA has acted under the color of state
law and there is such a nexus between Defendants and DNA that the action of the DNA can be
considered and treated as the actions [sic] of Defendants." [Complaint at 11 17.] This amendment
contains no new facts in support of the claim and, as a result, does not cure the legal defects set forth
below.

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the Planning Department for consistency with the provisions of the code applicable to such districts
The Complaint concedes that the neighborhood was designated as an historic district [id. at 1111], but
characterizes the City's application of the Planning Code provisions in effect in 2005 as
"unreasonable, arbitrary, and capricious conduct, without any rational basis" [id. at 1115], suggesting
that the City enforced the law applicable to the project "by order of [the association]." These
allegations are insufficient to establish even an inference that the City merely "rubber-stamped"
decisions of the neighborhood association Rather, the allegations make plain that the neighborhood
association did not interfere in any way with the City's determination ofthe merits of Plaintiffs
Application and in fact did not express any views as to the Application at all after June of 2001.

As in the case of Kay v. Placer Counly, 219 Fed.Appx. 679 (9th Cir. 2007) , Plaintiff has
failed to convert this local land use dispute into a federal claim by alleging unlawful delegation As
the court held in that case "[t]he extent to which state actors may delegate government functions is, in
the first instance, a question of state law. Even if federal law is implicated, the complaint does no
more than state the legal conclusion that an unlawful delegation occurred. That conclusion is
contradicted by the facts alleged in the complaint," which indicate that the City did not delegate its
decision-making authority to the Dogpatch Neighborhood Association. ld. at 681. Rather, the
Complaint confirms that the City, and not the neighborhood association reviewed and approved
various aspects of Plaintiffs Application over the period from 1999-2005. [Complaint at 7-8.]
Whether a member ofthe neighborhood association or some other member of the public may have
notified Planning staff that the Application did not comply with the Planning Code as of December
2005 is immaterial, and does not create an inference that the City has "rubber-stamped" the decisions

of a nongovernmental body.

B. THE COMPLAINT FAILS TO STATE A CLAIM FOR DENIAL OF EQUAL
PROTECTION.

Plaintiffs equal protection claim also fails as a matter of law. The U.S. Supreme Court
formally recognized class-of-one equal protection causes of action in Village cf Willowbrcck v.
Olech, 528 U.S. 562 (2000) (per curiam). 111 Oleclr, a city conditioned water service for a property on
the owner's granting a 33-foot easement, even though the city required only a 15-foot easement from

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every other property owner. Id. at p. 563. The Supreme Court allowed the case to proceed on the
class-of-one theory, recognizing claims where a "plaintiff alleges that she has been intentionally
treated differently from others similarly situated and there is no rational basis for the difference in
treatment." Id. at p. 564 [emphasis added]. Therefore, in order to establish a class-of-one equal
protection violation based upon the alleged discriminatory application of a facially nondiscriminatory
law in a case that does not involve a suspect class or a fundamental right, a plaintiff must prove that
(1) it was treated differently from persons or entities similarly situated; (2) the unequal treatment was
intentional; and (3) the unequal treatment was not rationally related to a legitimate government

purpose. Il)id. The complaint does not satisfy these requirements

l. Plaintiff Fails To Allege Facts Supporting a Claim For "Class of One"
Discrimination.

The Complaint contains no allegations to support an argument that Plaintiff is a "class of one"
that has been subjected to disparate treatmentl ln fact, the only allegations on the subject are
unfounded inferences and conclusions [Complaint at 1115 (the City "singled Plaintiff out for special
handling by order of DNA. ...“) No facts are alleged to support the conclusory allegations and the
Court is not bound to accept Such allegations as true. See Manafacrared Horne Commanities Inc. v.
City ofSan Jose, 420 F.3d 1022, 1035 (9th Cir. 2005); Western Mining Coancil v. Watt, 643 F.2d
618, 624 (9th Cir. 1981). Plaintiff has not alleged that it was “intentionally treated differently from
others similarly situated and that there [was] no rational basis for the difference in treatment.” Squaw
Valley Dev. Co. v. Goldberg, 375 F.3d 936, 944 (9th Cir. 2004) (internal quotation marks omitted).
Unsupported legal conclusions are insufficient to support Plaintiffs equal protection claim.

Nor can Plaintiff amend to correct this defect, since the City's refusal to issue a permit in 2005
was based on Planning Code requirements that are facially nondiscriminatory and apply to all
projects constructed in the Dogpatch Historic District after the effective date of the code section
Planning Code §§1005, 1006. ln fact, Plaintiff has already amended the Complaint once in response
to the City's earlier motion to dismiss, but asserted no new facts to bolster this claim. The actual
bases for the City's decisions at issue in this case are reflected in the determinations of the BlC and

BOA which found that the Planning Department acted properly when it reasserted jurisdiction over

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the Application for purposes of bringing the Application into compliance with the Planning Code.
[RJN at Exh. 4 (Exhs. A-D).] Plaintiffs simply cannot allege that the City has treated it unfairly by

requiring that Plaintiff comply with the law before he could receive a building permit

2. The City Has a Rational Basis For Refusing to Issue Plaintiff a
Building Permit.

In evaluating Plaintiffs equal protection claim, the Court must apply the highly
deferential rationality standard. SeeArmendariz v. Penman, 75 F.3d 131 1, 1326 n 1 1 (9th Cir.
1996). Plaintiffs unsupported legal conclusions are insufficient to support this claim. Kay v. Placer
County, supra, at 681.

ln this case, the City had a rational basis for refusing to issue Plaintiff the requested permit in
2005: California law and San Francisco's Municipal Code forbade it. lt is long-settled law in this
state that building projects must comply with the Planning Code in effect at the time of permit
issuance Wells Fargo Bank v. T own of Woodside, 33 Ca1.3d 379 (1983); Sell)y Realty Co. v. City of
San Buenaventura, 10 Ca1.3d 1 10 (1973); Russian Hill lmprovement Assoc. v. Board ofPermit
Appeals, 66 Cal.2d 34 (1967). This rule extends even to changes in the law adopted after initial

administrative decision on a permit

[T]he mere application for a building permit or the submission of plans which
comply with the law in existence at the time of such submission do not entitle
an applicant to the issuance of the permit if, in the interim between
administrative denial of the permit and the appeal from that denial, an
ordinance has been enacted which would prohibit the project contemplated

Selby Realty Co., 10 Ca1.3d at 125. ln fact, "even a permit which [has] achieved administrative
finality can be revoked on the basis of a subsequent change in the zoning laws." West Coasr
Advertising v. City and County ofSan Francisco, 256 Cal.App.2d 357, 360 (1967). This concept has
been specifically applied to the decisions of San Francisco's BOA (formerly known as the Board of
Permit Appeals) which, "in its de novo review is bound to apply the zoning ordinances in effect at the
time of its final decision not those in force at the time of preliminary proceedings before any
subordinate agency." Rassian Hill lmprovemenz Assn., supra, 66 Ca1.3d at 46. As a result, the
Planning Department, the BIC and the BOA were each required to apply the existing Planning Code
(including Article 10 and Appendix L) to the Project at the time of their respective reviews of the

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Application lf the City had issued the permit in December of 2005 without the required Certificate
of Appropriateness and Planning Commission review, as Plaintiff argues it should have, the permit
would have been invalid as a matter of law. S.F. Building Code § 106.4.3; Land Wasi‘e Management,
supra, 222 Cal.App. 3d at 958.

Reviewing courts must also apply the law in existence at the time of their decision rather than
at the time that a permit is issued or denied. Wells F argo Bank, 33 Cal.3d at 385 ; Selby Realty Co.,
10 Cal.3d at 110.

lt is the prevailing rule that a reviewing court will apply the law in existence at
the time of its decision rather than at the time the permit was denied. [cite.]
The purpose of this rule is to prevent an appellate court from issuing orders for
the construction of improvements contrary to presently existing legislative
provisions [Cite.] lndeed, even after a permit has been issued, it may be
revoked by an administrative body on the basis of a subsequent change in the
zoning laws unless the perrnitee has made substantial improvements in good
faith reliance on the permit.

Selby Really Co., 10 Cal.3d at 110. Where, as here, no permit has issued, there can be no substantial
reliance thereon to shield the Plaintiff from the prevailing rule. West Coast Advertising, 256
Cal.App.2d at 360. Nor can Plaintiff satisfy the only recognized exception to the rule, which is
limited to cases where a subsequent ordinance is enacted with the specific purpose of frustrating the
developer’s plan See Selby Realry Co., 10 Cal,3d at 126, fn 11. As a result, Plaintiff is not entitled
to issuance of the permit he seeks as a matter of law.

"As stated in [Landi v. County ofMonierey, 139 Cal.App.3d 934,936-937 (1983)], the grant of
a land-use permit or variance is an adjudicatory act, rather than a legislative one. [Citations.]
Adjudicatory decisions must be consistent with applicable land-use legislation [Citations.] Thus,
local government entities cannot issue land-use permits that are inconsistent with controlling land-use
legislation as embodied in zoning ordinances and general plans11 Land Waste Management, supra,
at 957-58. lnstead, “a land-use permit which is inconsistent with existing zoning ordinances can be
issued by a responsible administrative entity only after the applicable ordinances have been amended
by the legislative process11 ld. at 959. ln short, "[u]nder established law, local government agencies
are powerless to issue land-use permits which are inconsistent with governing legislation." Id. at 959
(citing Orinda Assn. v. Board ofSapervisors, 182 Cal.App.3d 1145 (1986), 1161-1162, 1167-1169).

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The City thus had a rational basis for refusing to issue a building permit to Plaintiff in
December of 2005. The requested permit, if issued, would have violated San Francisco's Planning
and Building Codes because the proposed project had not been reviewed for consistency with the
design guidelines applicable to the Dogpatch Historic District, and had not received the required
Certificate of Appropriateness mandated by the Planning Code. Such a permit would therefore have

been unlawful as of the date of issuance, in violation of Building Code § 106.4.3.

C. PLAINTIFF'S §1983 CLAIMS ARE BARRED BY THE STATUTE OF
LIMITATIONS.

Both the First and Second Counts of the Complaint rely on the City's alleged "unlawful
delegation" of authority to the Dogpatch Neighborhood Association as a basis for relief under §1983.
[Complaint at 1117-19; 21-24.1 l-lowever, the only act of "delegation" alleged in the Complaint is the
Planning Department's alleged refusal to deem Plaintiff‘s application "complete" until the association
had "approved" the project, [Id. at 116.1 The Complaint does not allege that the City directed Plaintiff
to seek approval from the association [id. at 1151, but merely that "Planning refused to determine
whether the Application was complete unless DNA approved it." [ld. at 115.1 The Complaint also
alleges that "[t]he Application was finally determined to be complete by Planning in June 2001 ." [Id.
at 117.1 Thus, according to the Complaint, the final act reflecting the alleged delegation occurred in
June 2001. The statute of limitations on these claims ran in June, 2002.

“For actions under 42 U.S.C. § 1983, courts apply the forum state's statute of limitations for
personal injury actions....” Wilson v. Garcia, 471 U.S. 261,271-72, 276, (1985); Jones v. Blanas 393
F.3d 918, 927 (9th Cir. 2004). ln June of 2002, the statute of limitations for personal injury actions
was l year. See former Code of Civil Proc. §340. On January l, 2003, Code of Civil Procedure
§ 335.1 became law, extending the prior limitations period applicable to personal injury actions (and
correspondingly to federal civil rights claims) from one year to two years. See Cal. Code Civ.Proc.

§ 335.1. Plaintiff does not benefit from this new two-year statute of limitations Rather, since the
claims herein accrued before January l, 2003, the one-year statute govems. See Krasesky v. Baagh,
138 Cal.App.3d 562 (1982) (“[S]tatute[s] [are] presumed to be prospective only and will not be

applied retroactively unless such intention clearly applies in the language of the statute itself.”); see

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also Landgrafv. USlFilm Prodacts, 51 1 U.S. 244, 265-66 (1994) (“[T]he ‘principle that the legal
effect of conduct should ordinarily be assessed under the law that existed When the conduct took
place has timeless and universal appeal.”’).

Even if Plaintiff could establish prohibited delegation of authority under Schulz, by its own
admission any delay caused by such delegation ended in 2001_nearly six years before Plaintiff filed
his Complaint Once again Plaintiff has not (and cannot) alleged facts to circumvent this legal

barrier to his §1983 claims

II. RES JUDICATA AND COLLATERAL ESTOPPEL BAR PLAINTIFF'S CLAIMS.

In order to challenge the decision of an administrative agency, a plaintiff must demonstrate
that he has exhausted all available administrative procedures f including all available administrative
appeals Coachella Valley Mosquito & Vector Control Dist. v. California Pablic Employment
Relations Bd., 35 Cal.4th 1072, 1080 (2005). "In brief, the rule is that where an administrative
remedy is provided by statute, relief must be sought from the administrative body and this remedy
exhausted before the courts will act." Abelleira v. District Court of Appeal, 17 Cal.2d 280, 292
(1941). In addition to exhausting administrative remedies, a plaintiff must also exhaust judicial
remedies "[.l]udicial review of any decision of a local agency , . . may be had pursuant to Code of
Civil Procedure section 1094.5, only if the petition for writ of mandate pursuant to such section is
filed . . . not later than the 90th day following the date on which the decision becomes final." (Code
Civ. Proc. § 1094.6, subd. (b).) The California Supreme Court has held that "unless a party to a
quasi-judicial proceeding challenges the agency’s adverse findings made in that proceeding, by
means of a mandate action in superior court, those findings are binding in later civil actions.”
Johnson v. City of Lorna Linda, 24 Cal.4th 61 , 69-70 (2000). "Exhaustion of judicial remedies . . .is
necessary to avoid giving binding effect to the administrative agency's decision because the decision
has achieved finality due to the aggrieved party's failure to pursue the exclusive remedy for reviewing
administrative action." Il)id.,' see also City and Coanly ofSan Francisco v. Ang, 97 Cal.App.3d 673 ,
677 - 679 (1979).

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In Briggs v. City of Rolling Hills Estates, supra, 40 Cal.App.4th 637 (1995), a homeowner
sued after the issuance of a building permit was conditioned on the removal of an existing deck. ld.
at 640. The trial court granted summary judgment in favor of the city finding the homeowner's §1983
cause of action was precluded by the failure to challenge the city's action directly by administrative
mandamus." Ibid. Afler analyzing and discussing state and federal law, the Court of Appeals

affirmed The court observed that the homeowner

never sought to set aside the city's decision by petitioning for a writ of
administrative mandamus pursuant to Code of Civil Procedure section 1094.5.
Plaintiffs could and should have sought judicial review of the city's decision by
administrative mandamus; if the condition to which plaintiffs objected was
improperly imposed, it could have been vacated pursuant to section 1094.5.
Plaintiffs completely bypassed the proper procedure and instead sought
damages and injunctive relief by this independent action

Id. at p. 645. The court went onto state that failure to pursue administrative and judicial relief
estopped the homeowner from relitigating the issues, even in a §1983 cause of action Id. at pp. 645 -

648. Citing Knickerbocker v. City ofStoclcton, 199 Cal.App.3d 235 (1988), it explained the rule:

1T1his rule is not the doctrine of "failure to exhaust administrative remedies."
Rather it is a form of res judicata, of giving collateral estoppel effect to the
administrative agency's decision because that decision has achieved finality
due to the aggrieved party's failure to pursue the exclusive judicial remedy for
reviewing administrative action

Id. at pp. 645 - 646. This rule is recognized by the federal courts as well. In fact, “the highest court
in the land has held the principles of res judicata and collateral estoppel apply to federal civil rights
statutes." Id. at p. 646 1qu0ting University of T ennessee v. Elliot, 478 U.S. 788 (1986)1. The United

States Supreme Court has held

that when a state agency acting in a judicial capacity resolves disputed issues
of fact properly before it which the parties have had an adequate opportunity to
litigate, federal courts in actions under the reconstruction civil rights statutes
(42 U.S.C. §1983 et seq.) must give the agency's factfinding the same
preclusive effect it would be entitled to in the state courts

Univ. ofTenn. v. Elliot, 478 U.S. at 789.

1. Plaintiff Failed to Exhaust State Judicial Remedies.

Here, Plaintiff challenged the very same actions of the City-ref`usal to issue a building

permit-_before two of the city's administrative agencies: the BIC and the BOA. 1RJN at Exh. 4 (and

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exhibits thereto).] ln both instances Plaintiff's claims were defeated [ld.] Plaintiff challenged those
losses by writ petition to the Superior Court [id. at Exh. 4], but did not secure a judgment on the
merits from that court. Rather, after the City filed and fully briefed its demurrer to the petition but
before the court could rule on the demurrer, Plaintiff filed a request for dismissal of that action [ld.
at Exh. 10.] Plaintiff has thus failed to exhaust state court remedies for the conduct complained of in
this action For the reasons set forth below, Plaintiff cannot cure this defect by filing a new action in

the Superior Court.

2. The Statute of Limitations Set Forth in Government Code § 65009 Bars
Plaintiff's Claims.

Plaintiff seeks to challenge the City's refusal to issue a building permit that does not comply
with the Plarming Code in effect at the time of issuance. That decision by the City is embodied in
two determinations by City administrative appeals bodies the BOA and the BIC. [RJN at Exh. 4
(Exhs. B, D).] The statute of limitations applicable to claims challenging these administrative
determinations is set forth in Govemment Code §65009, which applies a 90-day limitations period to
all claims challenging local planning decisions, Zoning Administrator determinations and all
decisions of the BIC. Thus under Government Code §65009(0)(1), Plaintiff had 90 days following
each of the two challenged decisions to file and serve a petition attacking that decision Plaintiff
failed to timely file a writ petition before the Superior Court, then dismissed the late-filed petition
after the City filed its demurrer, but before the Superior Court had ruled on the demurrer. [RJN at
Exhs. 4, 8-10.] Plaintiff has not obtained a final ruling on the merits from the Superior Court on its
challenge to the City's determinations and thus has yet to exhaust state judicial remedies lt is now
too late for Plaintiff to do so.

Govemment Code §65009, subdivision (c)(l)(E), provides that the 90-day statute of
limitations applies to actions seeking “[t]o attack, review, set aside, void or annul any decision on the
matters listed in Sections 65901 and 65903, or to determine the reasonableness legality, or validity of
any condition attached to a variance, conditional use permit, or any other permit.“ Subdivision
(c)(l)(F) similarly imposes a 90-day limitations period on “any of the proceedings acts or
determinations taken done, or made prior to any of the decisions listed in [subparagraph (E).] "

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Section 65901, in turn applies to determinations by the City’s Zoning Administrator (Gov‘t Code
§65901), and §65903 applies to determinations by the City's Board of Appeals. Gov't Code §65903.
After the expiration of this time period, "all persons are barred fi'om any further action or
proceeding." Gov't Code §65009(€); Travis v. Counzy ofSanta Cruz, 33 Cal.4th 757, 765 (2004).

This 90-day statue of limitations applies to both Plaintiff’ s damage claims and their claims for
declaratory or similar relief ln a parallel context, the California Supreme Court has determined that
the 90-day period of limitation set forth in Government Code section 66499.37, Which contains
language analogous to that contained in Government Code section 65009, barred all actions arising
out of the Subdivision Map Act filed after the 90-day statute of limitations Hensler v. City of

Glendale, 8 Cal.4th 1 (1994). In that case, the Supreme Court stated that:

As the Court of Appeal recognized here and in Hant, section 66499.37 applies
by its terms to any action involving a controversy over or arising out of the
Subdivision Map Act. Therefore, if this is a claim arising out of application of
a land-use regulation authorized by that act, section 66499.37 applies Plaintiff
seeks to avoid application of section 66499.37 by arguing he does not
challenge the validity of the Glendale ordinance He seeks only compensation
for the taking he alleges was effected by the ordinance He contends on that
basis that the statutes of limitation found in the Code of Civil Procedure govern
this action We disagree.

ld. at p. 23 (citing Hunt v. Coanzy ofShasta, 225 Cal.App.3d 432 (l990))(emphasis in original).) The

Supreme Court concluded that:

This section is not, as plaintiff argues limited to actions for specific relief. lt
includes actions for compensation for a regulatory taking because the validity
of the ordinance or its application to the plaintiffs property, if uncompensated,
must be determined in the action»i.e., the court must determine if there has
been a taking. Before he or she is entitled to any relief, either compensation or
exemption of the property from development restriction the plaintiff must
establish that the ordinance, regulation or administrative action is not lawful or
constitutionally valid if no compensation is paid The action therefore comes
within the broad language of section 66499.37.

ld. at 25. The same reasoning applies to the instant case, and bars Plaintiff from challenging the
City's administrative determinations regarding his Application under any legal theory. As a
consequence, the determinations of the BIC and the BOA are res judicata, and preclude the Plaintiff

from challenging the City's refusal to issue a building permit in this action

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III. ANY CLAIMS BASED ON THE CITY'S REFUSAL T() ISSUE A PERMIT ARE
UNRIPE FOR ADJUDICATION.

Alternatively, to the extent that any of Plaintiffs claims are deemed to challenge the City's
refusal to issue a building permit (rather than the alleged unlawful delegation to a neighborhood
association), such claims are unripe for adjudication Suits for equal protection are subject to the
requirement that the decision be ripe for review. In the context of equal protection claims stemming
from the regulation of land use, this requirement includes a final decision by the relevant government
authority. Hoeline v. County ofSan Benito, 870 F.2d 529, 532 (9th Cir. 1989).

ln suits for wrongful deprivation of property under 42 U.S.C. §1983, the same considerations
that render a claim premature prevent accrual of a claim for limitations purposes and the claim does
not accrue until the relevant governmental authorities have made a final decision on the fate of the
property. Norco Constr. Co. vKing Counly, 801 F.2d 1143, 1145 (9th Cir. 1986); McMillan v.
Goleta Water District, 792 F.2d 1453 (9th Cir. 1986). The "basic rationale" of the ripeness
requirement "is to prevent the courts through avoidance of premature adjudication from entangling
themselves in abstract disagreements over administrative policies and also to protect the agencies
from judicial interference until an administrative decision has been formalized and its effects felt in a
concrete way by the challenging parties." Abbott Laboratories v. Gardner, 387 U.S. 136, 148-149
(1967). The Ninth Circuit has emphasized the heavy burden placed on plaintiffs seeking to establish

constitutional violations in the context of land use decisions

The Supreme Court has recognized that land-use planning is not an all-or-
nothing proposition A government entity is not required to permit a landowner
to develop property to the full extent it may desire. Denial of the intensive
development desired by a landowner does not preclude less intensive, but still
valuable developmentl MacDonald, 477 U.S. at 353, 106 S.Ct. at 2569. “The
local agencies charged with administering regulations governing property
development are singularly flexible institutions what they take with the one
hand they may give back with the other.” ld. at 350, 106 S.Ct. at 2567. The
property owner, therefore, has a high burden of proving that a final decision
has been reached by the agency before it may seek compensatory or injunctive
relief in federal court on federal constitutional grounds

Hoehne, supra, 870 F.2d at 532-33 (emphasis added).
In this case, the City has not issued a final decision denying Plaintiff a building permit. In

fact, such a decision was continued_at Plaintiffs request-until August 2008. 1R.1N at Exh. 12.1

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Since the City has not rendered a final decision as to the Application at issue in this case, any claims

based on the City's conduct with respect to such Application are not ripe for review under §1983.

IV. THE THIRD COUNT FAILS AS A MATTER OF LAW.

A. PLAINTIFF FAILED TO OBTAIN LEAVE OF COURT TO SUPPLEMENT
THE COMPLAINT.

The Third Count set forth in the Complaint does not amend the original complaint, but rather
supplements it by alleging that the City has "retaliated" against Plaintiff since thejiling of the initial
complaint [Complaint at 11 27.] Supplemental pleadings however, may not be filed as a matter of
right. lnstead, Plaintiff must seek leave of court to assert conduct of the City since the initiation of
this action FRCP 15(d). “Upon motion of a party, the court may, upon reasonable notice and on
such terms that are just, permit the party to serve a supplemental pleading setting forth transactions or
occurrences or events which have happened since the date of the pleading sought to be
supplemented.” ld. Plaintiff failed to seek leave to supplement its complaint with this new Third
Count.

The new allegations also run afoul of the Federal Rules governing supplemental and amended
pleadings because they seek to add an entirely new theory of recovery. “While leave to permit
supplemental pleading is favored, it cannot be used to introduce a separate, distinct, and new cause of
action.” Matsushita Elec. lndus. Co. Ltd. v. CMC Magnetics, Slip Copy, 2007 WL 127997 (N.D. Cal.,
2007); Planned Parenthood of Southern Arizona v. Neely, 130 F.3d 400, 402 (9th Cir. 1997). The
first two counts of the Complaint allege that the City violated Plaintiffs rights under §1983 by
refusing to issue a building permit for the proposed project, The new count, however, asserts that the
City has taken actions to retaliate against Plaintiff for his lawful exercise of rights under the First
Amendment to the United States Constitution This new claim does not arise out of the conduct
which forms the basis of the first two counts (refusal to issue an illegal building permit in 2005), but
instead asserts that the City has taken intentional steps to harm Plaintiff following the filing of this
action A supplemental pleading_particularly one not vetted by a motion for leave to amendiis not

the proper vehicle for asserting such a claim. The Third Count should be stricken

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B. THE ALLEGATIONS OF THE THIRD COUNT ARE INSUFFICIENT TO
STATE A CLAIM.

ln resolving a Rule 12(b)(6) motion the court must: (l) construe the complaint in the light
most favorable to the plaintiff; (2) accept all well-pleaded factual allegations as true; and (3)
determine whether plaintiff can prove any set of facts to support a claim that would merit relief`.
Cahill v. Liberty Mat. lns. Co., 80 F.3d 336, 337-338 (9th Cir. 1996). “However, conclusory
allegations of law and unwarranted inferences are not sufficient to defeat a motion to dismiss.”
Pareto v. F.D.I.C., 139 F.3d 696, 699 (9th Cir. 1998). ln this case, the Third Count sets forth only
conclusory allegations without citations to specific supporting facts This is because the facts which
are subject to judicial notice by the Court, directly contradict the legal conclusions set forth in the
Complaint.

Plaintiffs Third Count asserts that, after the initial complaint was ftled, the City "retaliated"
against it by delaying the processing of its application and applications on its other property (1169
Tennessee Street). [Complaint at 11 27.] This allegation is demonstrably false. Public records
establish that the City denied the Application in December 2006, nine months before this case was
filed [RJN at 1111 13, 14, Exhs. 12, 13.] Similarly, the City's action predates the filing of all but one
of Plaintiffs four state court actions [ld.]3 ln fact, the Plaintiij requested that the City deny the
Application in order that the Plaintiff could challenge that denial to the City's Board of Appeals. [ld.
at Exh. 14.] The City has taken no further action on the Application because there is no application
pending [ld. at Exh. 13.] As to Plaintiff‘s other property, public records demonstrate that all permit
applications submitted for that property since Plaintiff began filing its multiple lawsuits against the
City have been issued [ld.] Public records show no applications currently pending as to that
property [ld.]

A court need not permit an attempt to amend a complaint if “it determines that the pleading
could not possibly be cured by allegation of other facts.” Cook, Perkiss and Lielre, lnc. v. N. Cal.

Collection Serv. lnc., 911 F.2d 242, 247 (9th Cir. 1990). Nor should the Court should permit Plaintiff

 

3 The one case that predates the City's denial of the pemrit is the subject of a pending motion
to dismiss filed by Plaintiff. [ld. at 11 11 7-10, Exhs. 7-10.]

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to supplement the Complaint with the Third Count, but rather should dismiss it in the event it declines

to grant the City's motion to strike.

CONCLUSION

For the foregoing reasons the allegations of the Complaint and those facts of which this Court
may take judicial notice demonstrate that the claims for relief set forth in the Complaint fail to state
facts sufficient to constitute a cause of action that the Court lacks jurisdiction over such claims and
that the claims are untimely as a matter of law. On these bases the City respectfully submits that its
motion to dismiss or, in the alternative, for summary j udgment, should be granted without leave to
amend as to all claims for relief set forth in the Complaint ln addition the Court should grant the
City'S motion to strike the Third Count of the Complaint pursuant to Fed. Rules Civ. Proc. 12(f) and
15(d).

Dated: December 14, 2007
DENNIS .1. HERR_ERA
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CITY AND COUNTY OF SAN FRANCISCO

 

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